
Helm, J.
No objection was taken or exception preserved, by either party during the progress of the trial; we are, therefore, precluded from considering errors, if any were made, either in the admission or rejection of testimony, or in the giving or refusal of instructions.
But two witnesses were examined in the case, and there is no strong preponderance of proof upon the disputed points. The testimony of Weary, who was sworn on behalf of plaintiffs below, establishes their right to recover from defendants the amount of the judgment. Bergman, who testified for defendants below, contradicts Weary in some important particulars. But the cause was tried to a jury, whose province it was to pass upon the weight of testimony and credibility of witnesses; they resolved the doubts arising from these conflicts in the *518evidence, in favor of plaintiffs, and a disturbance of their verdict by us would be unwarranted.
F. M. Hardenbrook, for plaintiffs in error.
J. A. Hall, for defendants in error.
The judgment of the County Court must be affrmed.

Affirmed.

